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                              IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON



JOHN BELKNAP,                                        )
                                                     )          Civil No. 03: 15-cv-02377-PK
                                 Plaintiff(s),       )
                                                     )          ORDER OF DISMISSAL
                         V.                          )
                                                     )
BERKSHIRE LIFE INSURANCE COMPANY                     )
OF AMERICA,                                          )
                                                     )
                                 Defendant( s).      )


           The Court having been informed by counsel for the parties that this action has been

settled,

           IT IS ORDERED that this action is DISMISSED with prejudice and without costs and

with leave, upon good cause shown within sixty (60) days, to have this order of dismissal set

aside and the action reinstated if the settlement is not consummated. Pending motions, if any, are

DENIED AS MOOT.


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           Dated this l      day of October, 2016.



                                                                Paul Papak
                                                                United States Magistrate Judge
